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WO                              UNITED STATES DISTRICT COURT
                                               DISTRICT OF ARIZONA
           UNITED STATES OF AMERICA
                      v.                                                        ORDER OF DETENTION PENDING TRIAL

               Octavio Cebreros-Acosta                              Case Number:                  12-7393m

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the issue of detention was submitted to the Court on 7/6/12         .
Defendant was present and was represented by counsel. I conclude by a preponderance of the evidence the defendant is a flight risk
and order the detention of the defendant pending trial in this case.

                                                         FINDINGS OF FACT
I find by a preponderance of the evidence that:

        :        The defendant is not a citizen of the United States or lawfully admitted for permanent residence.
        :        The defendant, at the time of the charged offense, was in the United States illegally.
        :        If released herein, the defendant faces removal proceedings by the Bureau of Immigration and Customs
                 Enforcement, placing him/her beyond the jurisdiction of this Court and the defendant has previously been deported
                 or otherwise removed.
        9        The defendant has no significant contacts in the United States or in the District of Arizona.
        9        The defendant has no resources in the United States from which he/she might make a bond reasonably calculated
                 to assure his/her future appearance.
        9        The defendant has a prior criminal history.
        9        The defendant lives/works in Mexico.
        9        The defendant is an amnesty applicant but has no substantial ties in Arizona or in the United States and has
                 substantial family ties to Mexico.
        9        There is a record of prior failure to appear in court as ordered.
        9        The defendant attempted to evade law enforcement contact by fleeing from law enforcement.
        9        The defendant is facing a maximum of                     years imprisonment.
         The Court incorporates by reference the material findings of the Pretrial Services Agency which were reviewed by the Court
at the time of the hearing in this matter, except as noted in the record.
                                                        CONCLUSIONS OF LAW
         1.       There is a serious risk that the defendant will flee.
         2.       No condition or combination of conditions will reasonably assure the appearance of the defendant as required.
                                                DIRECTIONS REGARDING DETENTION
         The defendant is committed to the custody of the Attorney General or his/her designated representative for confinement in
a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court
of the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.
                                               APPEALS AND THIRD PARTY RELEASE
         IT IS ORDERED that should an appeal of this detention order be filed with the District Court, it is counsel's responsibility to
deliver a copy of the motion for review/reconsideration to Pretrial Services at least one day prior to the hearing set before the District
Court.
         IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is counsel's responsibility to notify Pretrial
Services sufficiently in advance of the hearing before the District Court to allow Pretrial Services an opportunity to interview and
investigate the potential third party custodian.

        DATED this 6th day of July, 2012.
